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FILED IN THE
U.S. DISTRICT COURT

William D. Hyslop EASTERN DISTRICT OF WASHINGTON
United States Attorney JUN 16 2620
Eastern District of Washington Sa ed te

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

 

UNITED STATES OF AMERICA,
1:20-CR-2022-SMJ
Plaintiff, INDICTMENT
V. Vio.: 18 U.S.C. §§ 113(a)(3), 1153
Assault with a Dangerous
BRUCE WARREN SAMPSON, JR., Weapon
Defendant. 18 U.S.C. §§ 113(a)(6), 1153
Assault Resulting in Serious
Bodily Injury
The Grand Jury charges:
COUNT 1

On or about October 27, 2019, in the Eastern District of Washington, within
the external boundaries of the Yakama Nation, in Indian Country, the Defendant,
BRUCE WARREN SAMPSON, JR., an Indian, did knowingly assault E.L.U. with
a dangerous weapon, to wit: a shod foot, with intent to do bodily harm, all in

violation of 18 U.S.C. §§ 113(a)(3), 1153.

INDICTMENT — 1
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COUNT 2
On or about October 27, 2019, in the Eastern District of Washington, within
the external boundaries of the Yakama Nation, in Indian Country, the Defendant,
BRUCE WARREN SAMPSON, JR., an Indian, did knowingly assault E.L.U.,
resulting in serious bodily injury, all in violation of 18 U.S.C. §§ 113(a)(6), 1153.
DATED this 1 day of June, 2020.

William D. Hyslop
United States Attorney

=

Richard C. Burson
Assistant United States Attorney

ke LD Hh

 

INDICTMENT — 2
